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                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MICHIGAN


ANTHONY EID, an individual,

               Plaintiff,


               v.                                           Case No. 2:20-cv-11718

WAYNE STATE UNIVERSITY,                                     Hon. Gershwin A. Drain
WAYNE STATE UNIVERSITY                                      Mag. Judge David R. Grand
SCHOOL OF MEDICINE,
NIKOLINA CAMAJ, MARGIT
CHADWELL, MATT JACKSON,
RICHARD S. BAKER, and
R. DARIN ELLIS, in their individual and
official capacities, jointly and severally,

            Defendants.
_______________________________________________________________________


                                     NOTICE OF APPEAL

       Notice is hereby given that Plaintiff, Anthony Eid appeals to the United States Court of

Appeals for the Sixth Circuit from the Order Granting Defendants’ Motion for Summary

Judgment as to all Defendants entered in this action on April 20, 2022.

May 19, 2022                                        /s/ J. Robert Flores
                                                    J. Robert Flores
                                                    Va. Bar no. 42080
                                                    10410 Hampton Road
                                                    Fairfax Station, Virginia 22039
                                                    (703) 609-8731
                                                    Email: rfloresesq@me.com
